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    (COB #241 voMotRFS)(02/10)




                       IN THE UNITED STATES BANKRUPTCY COURT
                                             District of Colorado ,
                                                                      Case No. 22−12059−KHT
In re: 5280 Auraria, LLC
       Debtor(s)




                                 ORDER ON MOTION FOR RELIEF FROM STAY
     DB Auraria, LLC , ("Movant,") has filed herein a Motion for Relief from Stay, document no. 478 .

    [ XX ] 1. to foreclose on and/or take possession and control of property described as follows:
    1051 14th Street Denver, CO 80202 and 1405 Curtis Street, Denver, CO 80202

    [ ] 2. to proceed with the liquidation of claims involving the debtor or the debtor's estate pursuant to
    certain proceedings presently pending in: .

    [ ] 3. other:
        The court, being duly advised, and any objections having been resolved, withdrawn, or overruled,
    hereby orders that the relief sought by the motion should be granted, and Movant is hereby granted relief
    from stay in order to proceed to take possession of, by way of the appointment of a receiver and
    otherwise, and to foreclose on the collateral above described, or if applicable, to proceed with the above
    described litigation (but not to seek to enforce any judgment Movant may obtain against the debtor
    personally or the debtor's post−petition property).

        IT IS FURTHER ORDERED that Movant may attach as an exhibit to this Order a copy of the
    description of the property which is the subject of, and described in, the Motion.

    Dated: 7/19/24                                         BY THE COURT:
                                                           s/ Kimberley H. Tyson
                                                           United States Bankruptcy Judge
